                 Case 20-11894-BLS     Doc 18    Filed 08/11/20    Page 1 of 4




                      IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT DELAWARE


    In re:                                         Chapter 11

    RGN-COLUMBUS IV, LLC, et al.,1                 Case No. 20-11894 (BLS)
                                                   (Joint Administration Requested)
                  Debtors.



       NOTICE OF (I) FILING OF BANKRUPTCY PETITIONS AND RELATED
     DOCUMENTS AND (II) AGENDA FOR TELEPHONIC AND VIDEO FIRST DAY
    HEARING SCHEDULED FOR AUGUST 13, 2020, AT 12:30 P.M. (ET) BEFORE THE
      HONORABLE BRENDAN LINEHAN SHANNON AT THE UNITED STATES
          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE2


      THIS HEARING WILL BE HELD TELEPHONICALLY VIA COURTCALL AND,
              IN CERTAIN CIRCUMSTANCES, BY VIDEO VIA ZOOM.

       ALL PARTIES WISHING TO APPEAR MUST DO SO TELEPHONICALLY BY
       CONTACTING COURTCALL, LLC AT 866-582-6878. ONLY THOSE PARTIES
        THAT WILL BE ADDRESSING THE COURT SHOULD APPEAR BY VIDEO
          VIA ZOOM IN ADDITION TO THEIR COURTCALL REGISTRATION.

       PLEASE NOTE THAT THE MICROPHONES ON THE ZOOM MEETING WILL
         BE MUTED AND THE ONLY AUDIO WILL BE THROUGH COURTCALL.

                       Topic: RGN Cases (Case No. 20-11894 (BLS))
              Time: August 13, 2020, at 12:30 p.m. Eastern Time (US and Canada)

                                    Join ZoomGov Meeting:
                         https://debuscourts.zoomgov.com/j/1616620224

                                  Meeting ID: 161 662 0224
                                     Password: 506819


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  The Debtors in these chapter 11 cases are RGN-Columbus IV, LLC, RGN-Chapel Hill II, LLC,
RGN-Chicago XVI, LLC, and RGN-Fort Lauderdale III, LLC. Each are disregarded entities for
tax purposes and do not have Federal Employer Identification Numbers. The mailing address for
the Debtors is 3000 Kellway Drive, Suite 140, Carrollton, Texas 75006 (Attn: James S. Feltman,
Responsible Officer).
2
  The documents referenced herein are available free of charge by request to Debtors’ proposed
counsel (Rokeysha Ramos, paralegal, at Rokeysha.Ramos@faegredrinker.com).


ACTIVE.124797517.02
                  Case 20-11894-BLS       Doc 18      Filed 08/11/20     Page 2 of 4




      Please note that, to appear telephonically via CourtCall, parties must make prior
                arrangements with CourtCall by telephone at (866) 582-6878.


       PLEASE TAKE NOTICE that the debtors and debtors in possession in the above-
captioned cases (collectively, the “Debtors”) filed the following voluntary petitions (collectively,
the “Petitions”) for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101–
1532 (the “Bankruptcy Code”), and, on August 11, 2020, filed related pleadings with the Clerk of
the United States Bankruptcy Court for the District of Delaware, which are set forth below. The
Debtors continue to operate their business as debtors in possession pursuant to sections 1107(a)
and 1108 of the Bankruptcy Code.

PETITIONS AND RELATED PLEADINGS:

1.      Voluntary Petitions

        A.        RGN-Columbus IV, LLC (Case No. 20-11894)
        B.        RGN-Chapel Hill II, LLC (Case No. 20-11910)
        C.        RGN-Chicago XVI, LLC (Case No. 20-11916)

        PLEASE TAKE FURTHER NOTICE that a telephonic and video hearing with respect
to the following first day pleadings (collectively, the “First Day Pleadings”), to the extent set forth
below, is scheduled for August 13, 2020, at 12:30 p.m. (ET) (the “First Day Hearing”) before the
Honorable Brendan Linehan Shannon, United States Bankruptcy Judge for the District of
Delaware.

FIRST DAY PLEADINGS GOING FORWARD:

3.      Debtor’s Motion for Order Authorizing (I) Joint Administration of Chapter 11 Cases and
        (II) Filing of a Consolidated Creditor Matrix [Docket No. 14]

        Status:         This matter will be going forward.

4.      Debtors’ Motion for an Order Authorizing Debtors to Maintain Client Programs [Docket
        No. 15]

        Status:         This matter will be going forward.

5.      Debtor’s Motion for Entry of Interim and Final Orders (I) Authorizing Payment to Utility
        Companies and (II) Granting Related Relief [Docket No. 16]

        Status:         This matter will be going forward on an interim basis.

6.      Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Payment of
        Certain Taxes and (II) Granting Related Relief [Docket No. 17]

        Status:         This matter will be going forward on an interim basis.

                                                  2
ACTIVE.124797517.02
                 Case 20-11894-BLS     Doc 18      Filed 08/11/20   Page 3 of 4




        PLEASE TAKE FURTHER NOTICE that parties who wish to participate in the First
Day Hearing may do so by contacting CourtCall at 866-582-6878 to register their appearance for
audio AND, in certain circumstances, by joining through Zoom at
https://debuscourts.zoomgov.com/j/1616620224 Meeting ID: 161 662 0224 &
Password: 506819) for video. Only those parties that will be addressing the Court should appear
by video via Zoom in addition to their CourtCall registration.

       PLEASE TAKE FURTHER NOTICE that objections, if any, to the First Day
Pleadings may be made at the First Day Hearing.


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                                               3
ACTIVE.124797517.02
                 Case 20-11894-BLS   Doc 18     Filed 08/11/20   Page 4 of 4




 Dated: Wilmington, Delaware            FAEGRE DRINKER BIDDLE & REATH LLP
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                                        -and-

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                                        Proposed Counsel to the Debtors
                                        and Debtors in Possession




                                           4
ACTIVE.124797517.02
